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VORGNIARY PRETATION

United States Bankruptcy Court
Northern District of Texas -
Dallas Division

VOLUNTARY PETITION.

Name of Debtor (if individual, enter Last, First, Middle):
HOPS OF KANSAS, LTD.

Name of Joint Debtor (Spouse) (Last, First, Middle):

All Other Names used by Debtor in the last 6 years
(include married, maiden, and trade names):

All Other Names used by Joint Debtor in the last 6 years
(include married, maiden, and trade names):

Soc. Sec./Tax I.D. No. (if more than one, state all):
XX-XXXXXXX

Soc. Sec./Tax I.D. No. (if more than one, state all):

Street Address of Debtor (No. & Street, City, State & Zip Code):
Hancock at Washington
Madison, Georgia 30650

Street Address of Debtor (No. & Street, City, State & Zip Code):

(County of Residence or of the
Principal Place of Business:
Morgan County

County of Residence or of the
Principal Place of Business:

Mailing Address of Debtor (if different from street address):

Mailing Address of Joint Debtor (if different from street address):

Location of Principal Assets of Business Debtor
(if different from addresses listed above):

INFORMATION REGARDING DEBTOR (Check the Applicable Boxes)

Venue (Check any applicable box)

or for a longer part of such 180 days than in any other District.

QO Debtor has been domiciled or has had a residence, principal place of business or principal assets in this District for 180 days immediately preceding the date of this petition

® There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.

Type of Debtor (Check all boxes that apply)
0 Railroad
O Stockbroker
O Commodity Broker

O Individual

O Corporation
& Partnership
O Other

Nature of Debts (Check one box)
O Consumer/Non-Business & Business

Chapter or Section of Bankruptcy Code Under Which
the Petition Is Filed (Check one box)
O Chapter 7 ®& Chapter 11 0 Chapter 13
O Chapter 9 O Chapter 12
O Sec. 304-Case ancillary to foreign proceeding

Chapter 11 Small Business (Check all boxes that apply)
O Debtor is a small business as defined in 11 U.S.C. § 101.
O Debtor is and elects to be considered a small business under
11 U.S.C. § 1121(€). (optional)

Filing Fee (Check one box)
® Full Filing Fee attached.
O Filing Fee to be paid in installments (Applicable to individuals only)
Must attach signed application for the court's consideration certifying that the
debtor is unable to pay fee except in installments. Rule 1006(b). See Official
Form No. 3.

Statistical/Administrative Information(Estimates only) THIS SPACE IS FOR COURT USE
& Debtor estimates that funds will be available for distribution to unsecured creditors. ONLY
QO Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will
be no funds available for distribution to unsecured creditors
Estimated Number of Creditors 1-15 16-49 50-99 100-199 200-999 1,000-over*
oO Oo Oo Oo oO 8

Estimated Assets
$0 to $50,001 to $100,001 to $500,001 to $1,000,001 to $10,000,001 to $50,000,001 to More than
$50,000 $100,000 $500,000 $1 million $10 million $50 million $100 million $100 million*

Oo oO oO oO oO O Oo RQ
Estimated Debts
$0 to $50,001 to $100,001 to $500,001 to $1,000,001 to $10,000,001 to $50,000,001 to More than
$50,000 $100,000 $500,000 $1 million $10 million $50 million $100 million $100 million*

0 QO Oo Oo oO 0 O B

* The estimates reflect consolidated information from Avado Brands, Inc. and its affiliates (collectively, the "Avado Entities", listed on the

attached Ann

on February , 2004.

) filing voluntary petitions with the United States Bankruptcy Court for the Northern District of Texas - Dallas Division

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VOLUNTARY PETITION wee TL Name of Debtor(s): — Form BI, Page 2
(This page must be completed and filed in every case) HOPS OF KANSAS, LTD.

Prior Bankruptcy.Case Filed Within Last 6 Years. (if more than one, attach additional sheet):”
Location Case Number: Date Filed:

Where Filed: None

Pending Bankruptcy Case Filed by Any Spouse, Partner, or Affiliate of this Debtor (1é more than one,

Name of Debtor: See Annex A

attach additional sheet.)

Case Number: Date Filed:

District:

Relationship: Judge:

SIGNATURES

Signature(s) of Debtor(s) (Individual/Joint)

I declare under penalty of perjury that the information provided in this petition is
true and correct.
[If petitioner is an individual whose debts are primarily consumer debts and has
chosen to file under chapter 7] I am aware that I may proceed under chapter 7, 11, 12
or 13 of title 11, United States Code, understand the relief available under each such
chapter, and choose to proceed under chapter 7.
I request relief in accordance with the chapter of title 11, United States Code, speci-
fied in this petition.

x
Signature of Debtor

x

Signature of Joint Debtor

Telephone Number (If not represented by attorney)

Date

Signature of Debtor (Corporation/Partnership)

I declare under penalty of perjury that the information provided in this petition is
true and correct, and that I have been authorized to file this petition on behalf of the
debtor.

The debtor requests relief in accepdance with the chapter of title 11, United States

Code, sp¢ciffed in LOI

U

x
Signature of Authorizedtndividual’

Kevin J. Leary
Name of Authorized Individual

Authorized Signatory for Hops of Kansas, Ltd.
Title of Authorized Individual

February yf 2004
Date '

- Signature of Attorney

Signature prAdforney fff Debtor(s)

George N. Panagakis

Printed Name of Attorney for Debtor(s)

Skadden, Arps, Slate, Meagher & Flom LLP

Firm Name

1333 W. Wacker Drive, Chicago, IL_60606-1285

Address

(312) 407-0700

Telephone Number

rebruary? 2004
Date

Signature of Non-Attorney Petition Preparer

I certify that Iam a bankruptcy petition preparer as defined in 11 U.S.C. § 110, that I
prepared this document for compensation, and that I have provided the debtor with a
copy of this document.

Printed Name of Bankruptcy Petition Preparer

Social Security Number

Address

Names and Social Security numbers of all other individuals who prepared or
assisted in preparing this document:

EXHIBIT A
(To be completed if debtor is required to file periodic reports (e.g., forms 10K and
10Q) with the Securities and Exchange Commission pursuant to Section 13 or 15(d)
lof the Securities Exchange Act of 1934 and is requesting relief under chapter 11)
O Exhibit A is attached and made a part of this petition.

If more than one person prepared this document, attach additional sheets conforming
to the appropriate official form for each person.

Xx
Signature of Bankruptcy Petition Preparer

EXHIBIT B
(To be completed if debtor is an individual whose debts are primarily consumer debts)
I, the attorney for the petitioner named in the foregoing petition, declare that I have
informed the petitioner that [he or she] may proceed under chapter 7, 11, 12, or 13 of
title 11, United States Code, and have explained the relief available under each such
chapter.

x
Signature of Attorney for Debtor(s)

Date

Date

A bankruptcy petition preparer's failure to comply with the provisions of title 11
and the Federal Rules of Bankruptcy Procedure may result in fines or imprison-
ment or both 11 U.S.C. § 110; 18 U.S.C.§ 156.

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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE NORTHERN DISTRICT OF TEXAS

DALLAS DIVISION
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In re :
: Chapter 11
HOPS OF KANSAS, LTD., :
: Case No. 04- ( )
Debtor. :
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CONSOLIDATED LIST OF CREDITORS HOLDING 50 LARGEST
UNSECURED CLAIMS

A list of the creditors holding the 50 largest unsecured claims against
Hops of Kansas, Ltd., and certain of its subsidiaries and affiliates, (collectively,
the "Avado Entities") was included with the petition of Don Pablo's of Texas, LP.
The list has been prepared on a consolidated basis, based upon the books and
records of the Avado Entities, all of which have contemporaneously commenced
chapter 11 cases in this Court. The information presented in the list shall not
constitute an admission by, nor is it binding on, the Avado Entities.

The list is prepared in accordance with Fed. R. Bankr. P. 1007(d) for
filing in this chapter 11 case. The list does not include (1) persons who come
within the definition of "insider" set forth in 11 U.S.C. § 101 or (2) secured
creditors unless the value of the collateral is such that the unsecured deficiency
places the creditor among the holders of the 50 largest unsecured claims.’

The Avado Entities may file the schedules of assets and liabilities (the “Schedules”) in accordance with 11 U.S.C. § 521 and
Fed. R. Bankr. P. 1007. The information contained in the Schedules may differ from the information set forth below.

The Avado Entities have not yet identified all of the 50 largest unsecured claims, if any, that are contingent, unliquidated,
disputed and/or subject to setoff. The Avado Entities reserve the right to identify any of the 50 largest unsecured claims in
their Schedules as contingent, unliquidated, disputed and/or subject to setoff, as appropriate.

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RESOLUTIONS OF HOPS OF KANSAS, LTD.

Dated as of February 4, 2004

Pursuant to Section 620.125 of the Florida Revised Uniform
Limited Partnership Act and the Agreement of Limited Partnership of Hops of
Kansas, Ltd., a Florida Limited Partnership (the "Limited Partnership"), the
undersigned, as sole general partner of the Limited Partnership (the "General
Partner"), does hereby adopt the following resolutions:

WHEREAS, the General Partner has been presented with
a proposed petition to be filed by the Limited Partnership in the
United States Bankruptcy Court for the Northern District of
Texas - Dallas Division (the "Bankruptcy Court") seeking relief
under the provisions of chapter 11 of title 11 of the United States
Code, in which the authority to operate as a debtor-in-possession
will be sought; and

WHEREAS, the General Partner has reviewed the pro-
posed petition and wishes to take actions that are in the best
interests of the Limited Partnership, its creditors, its partners and
other interested parties.

NOW THEREFORE, BE IT RESOLVED, that in the
judgment of the General Partner it is desirable and in the best
interests of the Limited Partnership, its creditors, its partners and
other interested parties, that a petition be filed by the Limited
Partnership in the Bankruptcy Court seeking relief under the
provisions of chapter 11 of title 11 of the United States Code (the
"Bankruptcy Code"), in which the authority to operate as a
debtor-in-possession will be sought, and the filing of such peti-
tion is authorized hereby; and it is further

RESOLVED, that each of Kevin J. Leary, Michael A.
Feder, Louis J. Profumo and Edward M. Burr be appointed by the
General Partner as an authorized signatory (each, an "Authorized
Signatory") and a Vice President and Assistant Secretary in
connection with the chapter 11 case authorized herein; and it is

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further

RESOLVED, that each Authorized Signatory and each
officer of the Limited Partnership, together with any other person
or persons hereafter designated by the General Partner, or any one
of such persons (each, individually, an "Authorized Officer," and,
individually and collectively, the "Authorized Officers") be, and
each of them hereby is, authorized, empowered and directed, on
behalf of the Limited Partnership, to execute and verify a petition
in the name of the Limited Partnership under chapter 11 of the
Bankruptcy Code and to cause the same to be filed in the Bank-
ruptcy Court in such form and at such time as the Authorized
Officer executing said petition on behalf of the Limited Partner-
ship shall determine; and it is further

RESOLVED, that the Authorized Officers be, and each of
them hereby is, authorized, directed and empowered, on behalf of
and in the name of the Limited Partnership, to execute and/or file,
or cause to be executed and/or filed (or to direct others to do so
on their behalf as provided herein) all necessary documents
including, but not limited to, all petitions, affidavits, schedules,
motions, lists, applications, pleadings and other papers, and in
that connection to employ and retain all assistance by legal coun-
sel, accountants or other professionals and to take any and all
other action, that they or any of them deem necessary, proper or
desirable in connection with the chapter 11 case contemplated
hereby, with a view to the successful prosecution of such case;
and it is further

RESOLVED, that the Authorized Officers be, and each of
them hereby is, authorized and empowered, in the name and on
behalf of the Limited Partnership, to take or cause to be taken,
from time to time, any and all such further action and to execute
and deliver, or cause to be executed and delivered, all such fur-
ther agreements, documents, certificates and undertakings includ-
ing, but not limited to, amendments to the documents contem-
plated hereby following the effectiveness thereof, and to incur all
such fees and expenses as in their judgment shall be necessary,
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appropriate or advisable, to effectuate the purpose and intent of
the foregoing resolutions; and it is further

RESOLVED, that the Limited Partnership as debtor and
debtor-in-possession under chapter 11 of the Bankruptcy Code
be, and it hereby is, authorized to enter into a debtor-in-posses-
sion financing facility, and in connection therewith, to grant any
guarantees, pledges, mortgages, and other security instruments
containing such provisions, terms, conditions, covenants, warran-
ties and representations as may be deemed necessary or appropri-
ate by any Authorized Officer to obtain such debtor-in-possession
financing for the Limited Partnership or its subsidiaries and
affiliates; and it is further

RESOLVED, that the Authorized Officers be, and each of
them hereby is, authorized and empowered to execute, deliver,
and perform for and on behalf of the Limited Partnership, as
debtor and debtor-in-possession, any documents, agreements,
guaranties, instruments, financing statements, undertakings and
certificates necessary or appropriate to facilitate the transactions
contemplated by the foregoing resolution including, but not
limited to, any credit agreement, promissory note, letter of credit
application, or other document evidencing the obligations of the
Limited Partnership under the debtor-in-possession financing,
and any modifications or supplements thereto, all such materials
to be in the form approved by such Authorized Officers, the
execution and delivery thereof to be conclusive evidence of such
approval; and it is further

RESOLVED that the Authorized Officers be, and each of
them hereby is, authorized and empowered for and in the name
and on behalf of the Limited Partnership to amend, supplement or
otherwise modify from time to time the terms of any documents,
certificates, instruments, agreements or other writings referred to
in the foregoing resolutions; and it is further

RESOLVED, that the law firm of Skadden, Arps, Slate,
Meagher & Flom LLP, 333 West Wacker Drive, Chicago, Illinois
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60606-1285, and its affiliated law practice entities be, and hereby
are, employed under a general retainer as attorneys for the Lim-
ited Partnership in the chapter 11 case; and it is further

RESOLVED, that the Authorized Officers be, and each of
them hereby is, authorized and empowered, in the name and on
behalf of the Limited Partnership, to retain such other profession-
als as they deem appropriate during the course of the chapter 11
case; and it is further

RESOLVED that the Authorized Officers be, and each of
them hereby is, authorized, in the name and on behalf of the
Limited Partnership, to take or cause to be taken any and all such
further action and to execute and deliver or cause to be executed
or delivered all such further agreements, documents, certificates
and undertakings, and to incur all such fees and expenses as in
their judgment shall be necessary, appropriate or advisable to
effectuate the purpose and intent of any and all of the foregoing
resolutions; and it is further

RESOLVED, that all acts lawfully done or actions law-
fully taken by any Authorized Officer to seek relief on behalf of
the Limited Partnership under chapter 11 of the Bankruptcy Code,
or in connection with the chapter 11 case, or any matter related
thereto, including in connection with the debtor-in-possession
financing, be, and they hereby are, adopted, ratified, confirmed
and approved in all respects as the acts and deeds of the Limited
Partnership.

When signed by the General Partner, these resolutions
shall be effective as of the date first written above.
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IN WITNESS WHEREOPF, the undersigned has executed these
Resolutions of the General Partner as of the date first written above.

General Partner:

Hops Grill & BaryInc. _ . > \
By: Z, ALE

Percy V. Willams
Sénior President &
Secre

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